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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE
__________________________________________
                                           )
In re:                                    )  Chapter 11
                                           )
                                   1
URSA OPERATING COMPANY LLC.,               ) Case No. 20-12067 (BLS)
                                          )
                        Debtor.            )
__________________________________________)
                                          )
                           2
THE ROYALTY CLAIMANTS,                     )
                                           ) Case No. 1:21-cv-495-MN
                        Appellants,        )
                                           ) MOTION OF APPELLANTS FOR
v.                                         ) EXPEDITED BRIEFING
                                          )  SCHEDULE AND EXPEDITED
URSA OPERATING COMPANY LLC,                ) HEARING IN CONNECTION
                                          )  WITH ROYALTY CLAIMANTS’
                        Appellee.          ) EMERGENCY MOTION FOR
__________________________________________)  STAY PENDING APPEAL




1
  The last four digits of the Wind-Down Debtor’s federal tax identification number is 0982. The
Wind-Down Debtor’s service address is PO Box 6916, Denver, CO 80206. The chapter 11 cases
of certain affiliates of the Wind-Down Debtor were closed effective as of March 15, 2021. See
Case No. 20-12065, Docket No. 485.
2
  The “Royalty Claimants” are: Airport Land Partners, Ltd.; John Anderson; Fernando Jose
Arroyo; Bar Seven L, LLC; Allen Byerley; Richard N. Casey; Alice Colton; Don Colton; Gregg
Colton; Daniels Petroleum Company and Barrett Baker as President; Vernon P. Dedisse, Jr.; Mary
Ruth Dedisse; Divide Creek Enterprises, LLC; Energy Investments, Inc.; Hunter Family Limited
Partnership; Jerry D. Jones, individually as trustee of the Paula Jones Special Needs Trust;
Christine Jones; Juhan LP; Juhan-Ray, LLC; Juhan Fordham Minerals, LLC; Peter Langegger;
Laramide Geosciences, LLC; Thomas D. Lawson; Fred Limbach; Paul Limbach; Nanci Limbach;
Stacie Anderson Malone; MAP2003-NET, an Oklahoma general partnership; MAP2004-OK, an
Oklahoma general partnership; MAP99A-NET, a Texas general partnership; Kristine M. Peterson;
Michael Pinnell; Pioneer Oil and Gas; Kelley Anderson Rinehart; Roy Royalty, Inc.; Jason Alan
Scott; Joseph Edward Scott; Rebecca P. Scott; Sharon Salgado; Shideler Energy Company, LLC;
Shidelerosa, LLP; Patrick L. Shuster; Toni M. Shuster; The City of Rifle, Colorado; Titan Energy
Resources Corporation; Watson Ranches, Ltd.; Brett James Watson; Diana K. Watson; James L.
Watson; Lee Watson and Evadean Watson, as co-trustees of the Watson Family Revocable Trust;
and Velma Weinreis.
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       The Royalty Claimants, Appellants herein, by and through their undersigned counsel,

hereby move this Court (the “Motion”), pursuant to Rule 8007(b) and 8013(d) of the Federal Rules

of Bankruptcy Procedure (the “Bankruptcy Rules”) and the Court’s inherent power to manage its

docket, for entry of an order setting an expedited briefing schedule and granting an expedited

hearing on the Royalty Claimants’ Emergency Motion for Stay Pending Appeal [Docket No. 4]

(the “Stay Motion”), and setting the Stay Motion for hearing on or before May 5, 2021. In support

of this Motion, the Royalty Claimants respectfully state as follows:
                                                                        3
       1.      On September 2, 2020, (the “Petition Date”), the Debtors filed voluntary petitions

for relief under the Bankruptcy Code in the United States Bankruptcy Court for the District of

Delaware (the “Bankruptcy Court”).

       2.      The Debtors continued to operate their businesses and manage their properties until

all of Debtors’ assets were sold to Terra Energy Partners, LLC, effective October 1, 2020 (the

“Sale Date”). See, Order Authorizing (I) the Sale of the Assets of the Debtors Free and Clear of

All Liens, Claims, Encumbrances, and Other Interests, (II) the Debtors to Enter into and Perform

their Obligations under the Purchase Agreement and Related Documents, (III) the Debtors to

Assume and Assign Certain Contracts and Unexpired Leases, and (IV) Granting Related Relief,

[Bankruptcy Case No. 20-12065, D.I. 265].

       3.      On March 15, 2021, the Bankruptcy Court entered a Final Decree Closing Certain

Cases and Amending the Caption of the Remaining Case [Case No. 20-12065, D.I. 485], which

closed the bankruptcy cases for all of the Debtors except the above-captioned Wind-Down Debtor.



3
 In re: Ursa Piceance Holdings, LLC (Case No. 20-12065); In re: Ursa Piceance LLC (Case No.
20-12066); In re: Ursa Operating Company LLC (Case No. 20-12067); In re Ursa Piceance
Pipeline LLC (Case No. 20-12069).

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       4.      On March 8, the Bankruptcy Court held a hearing to determine if the monies which

the Royalty Owners seek to recover on certain royalty underpayment claims against Ursa constitute

money that is not property of the Wind-Down Debtor’s estate.

       5.      On March 30, 2021, the Bankruptcy Court entered the Order Regarding Certain

Royalty Claimants and Sustaining Debtors’ First Omnibus Objection to Certain Proofs of Claim

[D.I. 18] (the “Claims Objection Order”).

       6.      On April 2, 2021, the Royalty Claimants filed an appeal of the Claims Objection

Order to this Court [Bankruptcy Case No. 20-12067; D.I. 20].

       7.      Contemporaneously therewith, the Royalty Claimants filed an Emergency Motion

for Stay Pending Appeal [Bankruptcy Case No. 20-12067; D.I. 22] (the “Bankruptcy Stay Motion”)

in the Bankruptcy Court pursuant to Bankruptcy Rule 8007(a), requesting entry of an order staying

the effectiveness of the Claims Objection Order pending resolution of the Royalty Claimants’

appeal of the Claims Objection Order, and requesting an emergency hearing.

       8.      The Bankruptcy Court granted an emergency hearing, and on April 14, 2021, the

Bankruptcy Court entered an Order (I) Denying the Royalty Claimants’ Emergency Motion for

Stay Pending Appeal; and (II) Entering 21 Day Courtesy Stay [Bankruptcy Case No. 20-12067;

D.I. 37]

       9.      While the Bankruptcy Court denied the Royalty Claimants’ the relief requested,

recognizing the Royalty Claimants’ right to seek relief from this Court as contemplated in

Bankruptcy Rule 8007(b), the Bankruptcy Court granted a 21-day stay of the Claims Objection

Order, to allow this Court to hear the Stay Motion without a rush to the courthouse, albeit still on

an expedited basis, should the Court grant the Royalty Claimants’ request herein.




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       10.     As set forth in greater detail in the Stay Motion, in order to ensure that the Royalty

Claimants’ appeal of the Claims Objection Order is not mooted by the Wind-Down Debtor

transferring almost all of its assets to its secured lender, Wells Fargo N.A., the Stay Motion needs

to be heard on an expedited basis. More specifically, the Claims Objection Order is only stayed by

the Bankruptcy Court’s order until May 5, 2021. After that date, without a further stay, the Debtors

may turn over all funds currently being held to their senior secured lender, potentially leaving

nothing in the estate for the Royalty Claimants in the event they are successful in their appeal.

       11.     Therefore, the Royalty Claimants seek entry of an order expediting the briefing

schedule set forth in Rule 7.1.2 of the Local Rules of Civil Practice and Procedure of the United

States District Court for the District of Delaware (the “Local Rules”); and scheduling an expedited

hearing on the Stay Motion to be conducted on or before May 5, 2021.

       12.     For the reasons set forth in the Stay Motion, the relief requested in the Stay Motion

is necessary and appropriate on an expedited basis.

       13.     Specifically, the effect of the Claims Objection Order is that the Wind-Down

Debtor will be permitted to transfer the approximately $35 million currently in hand to Wells,

leaving in the estate a liquidating trust fund in the amount of approximately $525,000, which may

end up being the only funds available to apply to any amounts found due and owing to the Royalty

Claimants. The disbursement of funds to Wells after the Claims Objection Order is effective would

be highly prejudicial to the Royalty Claimants and cause them serious irreparable harm in the event

that they are successful in an appeal.

       14.     For this reason and those set forth in the Stay Motion, cause exists to consider the

Stay Motion on an expedited basis.




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       WHEREFORE, the Royalty Claimants respectfully request that this Court enter an order:

(i) expediting the Briefing Schedule for the Stay Motion; and (ii) setting the Stay Motion for

hearing on or before May 5, 2021.

Dated: April 16, 2021                       Respectfully submitted,

                                           /s/Maria Aprile Sawczuk________________
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